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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

   FAUSTINO XAVIER BETANCOURT                           CIVIL NO.
   COLON,

    PLAINTIFF

        vs.

   INTERNATIONAL RESTUARANT
   SERVICES, INC., FICTITUOUS
   DEFENDANTS 1-100, et al,

     DEFENDANTS


                     DEFENDANT INTERNATIONAL RESTAURANT
                       SERVICES, INC.’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant International Restaurant

Services, Inc., hereinafter “IRSI”, hereby gives notice of removal of this action, Betancourt Colon

v. International Restaurant Services, Inc., et al, Case No. SJ2022CV04252, from the Court of

First Instance of the Commonwealth of Puerto Rico, Superior Court of San Juan, to the United

States District Court for the District of Puerto Rico. IRSI removes this action on the basis of

federal question jurisdiction pursuant to the provisions of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12181, et seq, Plaintiff’s request for a permanent injunction due to

alleged violations as per 42 U.S.C. § 12188, as well as alleged violations of Section 504 of the

Rehabilitation Act, 29 U.S.C. § 794, among others.

       As further grounds for removal, IRSI states the following:

                                       INTRODUCTION

       1.      The captioned case was filed by Faustino Xavier Betancourt Colon, hereinafter

“Betancourt”, on May 24, 2022, before the Superior Court of San Juan. (Refer to Civil Complaint


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SJ2022CV04252 attached and marked Exhibit 1). In synthesis, Betancourt claims that he has

been denied access to the facilities of IRSI’s Chili’s Restaurant, a place of public accommodation,

located at the Montehiedra Shopping Center located in San Juan, Puerto Rico, due to the alleged

presence and/or existence of architectural barriers which preclude him from the use and enjoyment

of said facility. Betancourt seeks the imposition of a permanent injunction and nominal damages

pursuant to the provisions of the Americans with Disabilities Act and Rehabilitation Act previously

cited herein.

        2.      The captioned case should rightfully be adjudicated by this Honorable Federal

Court. The existence of federal question jurisdiction is apparent from the face of the which

predicates the basis for the petition and relief requested therein, exclusively on the provisions of

Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq, Plaintiff’s request for

a permanent injunction due to alleged violations as per 42 U.S.C. § 12188, as well as alleged

violations of Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, among others.

                                    PROCEDURAL HISTORY

        3.      On May 24, 2022, Plaintiff filed his original complaint before the Superior Court

of San Juan, Puerto Rico. (Exh. 1).

        4.      Plaintiff’s complaint expressly recognizes the existence of federal jurisdiction as

stated in ¶ 10 of his complaint, which states in pertinent part as follows: “In the event that this civil

action is removed to the U.S. District Court for the District of Puerto Rico, federal jurisdiction is

invoked pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3) and (a)(4) due to ADA violations”. (Exh.

1, ¶ 10).

        5.      In the complaint, Plaintiff Betancourt seeks the imposition of a permanent

injunction due to alleged violations of applicable ADA provisions as per 42 U.S.C. § 12188, and

nominal damages.


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       6.      Plaintiff Betancourt alleges that the Chili’s Grill & Bar (Montehiedra), which is

owned and/or operated by Defendant IRSI is a place of public accommodation as per 42 U.S.C. §

12181(7). (Exh. 1, ¶ 1(e); & 13).

       7.      Plaintiff alleges that he frequently visits the facilities of Chili’s Grill & Bar; that

the last visit was on May 12, 2022; and that he allegedly personally encountered architectural

barriers in the payment counter, bathrooms and hallways. (Exh. 1, ¶ 1 (d)- (f)).

       8.      Plaintiff Betancourt alleges that he suffers from various physical conditions which

affect his daily living, to wit, congestive heart failure, hydrocephalia, foot abnormalities and

obesity; and that t/by virtue of the aforementioned conditions he is disabled as per the ADA 42

U.S.C. § 12102(1)(A). (Exh. 1, ¶¶ 3 & 4).

       9.      IRSI was personally served with summons and the complaint filed before the

Superior Court of San Juan on June 23, 2022. (Refer to evidence of service of summons attached

and marked Exhibit 2).

       10.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all process and pleadings

on file with the Superior Court of Carolina are attached hereto and marked Exhibit 3.

                                 VENUE AND JURISDICTION

       11.     Venue is proper in this Court pursuant to the provisions of 28 U.S.C. §§ 119, 1391,

1441(a), and 1446(a), because the Superior Court of San Juan, where the complaint was originally

filed, is located within the District of Puerto Rico.

       12.     This Court has diversity jurisdiction under 28 U.S.C. § 1331, because the complaint

expressly invokes the existence of federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1343(a)(3) and (a)(4) due to ADA violations”. (Exh. 1, ¶ 10): See also Section I, infra.

       13.     All other requirements for removal here have been satisfied. See Section I, infra.

                                     BASIS FOR REMOVAL


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I.      THIS COURT HAS FEDERAL QUESTION JURISDICION

        14.    All district courts are absolutely authorized by Congress to exercise jurisdiction

over all actions removed by a defendant if, and only when, the litigation falls within the court's

original jurisdiction. See Champagne v. Revco .S., Inc., 997 F. Supp. 220 (D.R.I. 1998). It is

important to note that “[r]emoval statutes do not create jurisdiction. They are instead a mechanism

to enable federal courts to hear the cases that are already within their original jurisdiction.” Lontz

v. Tharp, 413 F.3d 435, 444 (4th Cir. 2005). This is so because of the “important federalism

concerns at play in considering removal jurisdiction.” Rosselló–González v. Calderón–

Serra, 398 F. 3d 1, 11(1st Cir.2004); see also Franchise Tax Bd. v. Constr. Laborers Vacation

Trust for S. Cal., 463 U.S. 1, 7–8 (1983).

        15.    In the captioned case, removal jurisdiction turns on whether the case falls within

“federal question” jurisdiction: “The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. §

1331. There is “no mechanical test for determining when an action aris[es] under federal

law.” R.I. Fishermen's Alliance, Inc. v. R.I. Dep’t of Envtl. Mgmt., 585 F.3d 42, 47–48 (1st Cir.

2009) (citing Franchise Tax Bd., 463 U.S. at 8).


        16.    Removal of an action filed before the state court to federal court is governed by the

removal statute, which is codified at 28 U.S.C. § 1441, and provides, in relevant part, that

defendants may remove to the appropriate federal district court “any civil action brought in a State

court of which the district courts of the United States have original jurisdiction.” 28 U.S.C. §

1441(a). “The propriety of removal thus depends on whether the case originally could have been

filed in federal court.” City of Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 163, (1997); see

also Long v. Bando Mfg. of Am., Inc., 201 F.3d 754, 757 (6th Cir. 2000) (“In order to invoke the



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district court's removal jurisdiction, a defendant must show that the district court has original

jurisdiction over the action.”).


        17.    Original jurisdiction in the district court exists pursuant to 28 U.S.C. § 1331 where

a federal question, that is, a claim “arising under the Constitution, laws, or treaties of the United

States”, is asserted in the plaintiff's state complaint, or where there is complete diversity of

citizenship among the parties pursuant to 28 U.S.C. § 1332. See Exxon Mobil Corp. v. Allapattah

Servs., Inc., 545 U.S. 546, 552, (2005).


        18.    A state case may be removed to federal court if the allegations assert a “claim or

right arising under the Constitution, treaties or laws of the United States.” 28 U.S.C. § 1441(b).

The Supreme Court of the United States has made clear that, in deciding (for removal purposes)

whether a case presents a federal ‘claim or right,’ a court is to ask whether the plaintiff's claim to

relief rests upon a federal right, and the court is to look only to plaintiff's state complaint to find

the answer. Hernández-Agosto v. Romero-Barceló, 748 F.2d 1, 2 (1st Cir. 1984) (emphasis in

original).


        19.    The “arising under” analysis is premised on the well-pleaded complaint rule, which

“requires the federal question to be stated on the face of the plaintiff's well-pleaded

complaint.” R.I. Fishermen’s All., Inc. v. R.I. Dep’t of Envtl. Mgmt., 585 F.3d 42, 48 (1st Cir.

2009); accord Franchise Tax Bd., 463 U.S. at 9–10, 103 S. Ct. 2841. As a general matter, this

rule envisions “that the plaintiff is master of his complaint and that a case cannot be removed if

the complaint's allegations are premised only on local law.” Negrón–Fuentes v. UPS Supply

Chain Solutions, 532 F. 3d 1, 6 (1st Cir.2008).

        20.    As previously stated herein, the jurisdictional question is determined from what

appears on the plaintiff's state court claim, without reference to any other pleadings. Templeton

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Bd. of Sewer Comm’rs v. Am. Tissue Mills of Mass., Inc., 352 F. 3d 33, 37 (1st Cir.2003). There

are two types of actions that may come within federal question jurisdiction. The first category

“involves direct federal questions; that is, suits in which the plaintiff pleads a cause of action that

has its roots in federal law (say, a claim premised on the United States Constitution or on a federal

statute).” R.I. Fishermen's Alliance, 585 F.3d at 48. These cases, which constitute the “vast

majority” of cases brought under the general federal question jurisdiction of the district courts, are

those “in which federal law creates the cause of action.” Merrell Dow Pharm. Inc. v.

Thompson, 478 U.S. 804, 808, (1986). Where a complaint “is so drawn as to seek recovery

directly under the Constitution or laws of the United States,” the federal court must entertain the

suit. Bell v. Hood, 327 U.S. 678, 681, (1946); See also Ortiz De Arroyo v. Barceló, 765 F. 2d

275, 279 (1st Cir. 1985).

        21.     A review of the Plaintiff’s original complaint reveals that his claims are expressly

premised on cited provisions of the Americans with Disabilities Act and the Rehabilitation Act,

and he is requesting the injunctive and other nominal relief provided thereunder. In fact, Plaintiff

Betancourt did not cite any local statute or provision in his complaint. It follows that the four

corners of Betancourt’s complaint assert a “claim or right arising under the Constitution, treaties

or laws of the United States.” 28 U.S.C. § 1441(b). Clearly, removal is appropriate in the context

of this case.

II.     ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

        22.     The Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b). IRSI, which

is the only named defendant, was personally served on June 23, 2022 and has filed this Notice of

Removal within 30 days of service of the complaint.




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        23.       Pursuant to 28 U.S.C. § 1446(d), contemporaneously with the filing of this Notice

of Removal in the United States District Court for the District of Puerto Rico, written notice of

such filing will be served by the undersigned on Plaintiff’s Counsel of Record, and a copy of the

Notice of Removal will be filed with the Clerk of the Superior Court of San Juan.

        24.       By filing this Notice of Removal, IRSI does not waive any defense that may be

available to it and reserves all such defenses, including but not limited to those related to service

of process and lack of personal jurisdiction.

                                          CONCLUSION

        WHEREFORE, Defendant IRSI respectfully gives notice that the matter, bearing case

number SJ2022CV04252 and pending in the Court of First Instance of the Commonwealth of

Puerto Rico, Superior Court of San Juan, is removed to the United States District Court for the

District of Puerto Rico, and requests that the Court retain jurisdiction for all further proceedings

in this matter.

        I HEREBY CERTIFY: That on this same date, I electronically filed the foregoing motion

with the Clerk of the Court using the CM/ECF System which will send notification to the attorneys

of record.




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        RESPECTFULLY SUBMITTED: In San Juan, Puerto Rico on this 22nd day of July,

2022.



                        S/JEANNETTE LÓPEZ DE VICTORIA
                        JEANNETTE LÓPEZ DE VICTORIA
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